1913679-4100N-1666271040257.pdf



                                                        CERTIFICATE OF SERVICE


DEBTOR 1 NAME: Dale I West, Jr.                                                                             CASE NUMBER: 1913679
DEBTOR 2 NAME: Sheena L West
I       Robert J Wallace, Jr.       certify under penalty of perjury that I have served the attached document on the below
listed entities in the manner shown on 10/21/2022 :

By First Class Mail :
CENLAR FSB,425 Phillips Blvd,Ewing NJ 08618
Dale I West, Jr.,1461 NW 5th Ave.,Oak Harbor WA 98277
Sheena L West,1461 NW 5th Ave.,Oak Harbor WA 98277




Via ECF on the date the pleading was filed:
Debtor's Attorney

I certify that I have prepared the Certificate of Service and that it is a true and correct copy to the best of my knowledge, information
and belief.

Date :      10/21/2022                            Signature : ________________________________________
                                                                          Premium Graphics, Inc.
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                                                                                       10/21/22 10:28:21              Pg. 1 of 4
1913679-4100N-1666271040257.pdf




         Case 19-13679-MLB    Doc 40   Filed 10/21/22   Ent. 10/21/22 10:28:21   Pg. 2 of 4
1913679-4100N-1666271040257.pdf




         Case 19-13679-MLB    Doc 40   Filed 10/21/22   Ent. 10/21/22 10:28:21   Pg. 3 of 4
1913679-4100N-1666271040257.pdf




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         Case 19-13679-MLB    Doc 40    Filed 10/21/22      Ent. 10/21/22 10:28:21   Pg. 4 of 4
